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MINUTE ENTRY
MILAZZO, J.
MAY 9, 2018

 JS-10: 00:55

                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

RENATA SINGLETON ET AL                                  CIVIL ACTION

VERSUS                                                  NO. 17-10721

LEON A CANNIZZARO, JR ET AL                             SECTION "H"


                                MOTION HEARING


CASE MANAGER: ERIN MOULEDOUS
COURT REPORTER: CATHY PEPPER
LAW CLERK: ANDREW COX

APPEARANCES: BRUCE HAMILTON, ALEC KARAKATSANIS, ANNA
             ARCENEAUX, KATHERINE CHAMBLEE-RYAN, SOMIL
             TRIVEDI, FOR PLAINTIFFS
             RICHARD STANLEY , THOMAS BARBERA, MATTHEW PAUL,
             ROBERT FREEMAN, JR., W. RALEY ALFORD , III, FOR
             DEFENDANTS

Court begins at 9:30 am.
Counsel appear for the record.
Defendants' Motion to Dismiss (Doc. 63) is argued and taken under submission.

Court adjourned at 10:25 a.m.
